Case 1:25-cv-00039-JJM-PAS   Document 68-94   Filed 02/07/25   Page 1 of 19 PageID
                                   #: 4977




                   Thomas-Jensen
                    Affirmation



                       Exhibit # 94
Case 1:25-cv-00039-JJM-PAS          Document 68-94      Filed 02/07/25     Page 2 of 19 PageID
                                          #: 4978



                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND


  STATE OF NEW YORK, et al.,

                 Plaintiffs,

          v.
                                                        C.A. No. 1:25-cv-00039
  DONALD TRUMP, IN HIS OFFICIAL CAPACITY
  AS PRESIDENT OF THE UNITED STATES, et al.,

                 Defendants.




 DECLARATION OF SCOTT MELVIN IN SUPPORT OF PLAINTIFFS’ MOTION FOR A
                     PRELIMINARY INJUNCTION


 I, Scott Melvin, hereby declare:
         1.     I am the Executive Deputy Commissioner of the New York State Department of

 Labor (NYSDOL) and have nearly 30 years of government experience, including 11 years at

 NYSDOL. I began my tenure with NYSDOL as a Special Assistant to the Commissioner in 2014,

 advanced to Chief of Staff in 2016, and became Acting Executive Deputy Commissioner in 2020,

 followed by my appointment to my current role in 2021. I am responsible for the comprehensive

 management of NYSDOL’s day-to-day operations and spending, overseeing 14 distinct divisions

 and offices within NYSDOL, including the Workforce Development, Unemployment Insurance,

 and Worker Protection divisions.

         2.     NYSDOL is an executive state agency established pursuant to Article 2 of the New

 York State Labor Law and employs approximately 3,200 people in offices across the State of New

 York.


                                                1
Case 1:25-cv-00039-JJM-PAS           Document 68-94        Filed 02/07/25      Page 3 of 19 PageID
                                           #: 4979



          3.     NYSDOL’s 2024-2025 enacted budget is approximately $1 billion to deliver federal

 and state programs related to administering unemployment insurance, engaging in workforce

 development, and enforcing the New York State Labor Law. Of this $1 billion, the source of $868

 million is federal funding (approximately 85%) and the remaining $156 million is state funding

 (approximately 15%).

          4.     The majority of the federal funding administered by NYSDOL is awarded on an

 annual basis as a formula allocation (annual allocation). The amounts of the annual allocations are

 determined by applying the Congressionally authorized allocation for the program to the formula

 set forth in federal law.

          5.     Additional grant funds are received by NYSDOL based on bids submitted in

 responses to federal grant solicitations (additional allocations). The amounts of any additional

 allocations are based upon the terms and conditions set forth in the Funding Opportunity

 Announcement issued by the federal agency authorized by Congress to administer the program

 funds.

          6.     For both annual allocations and additional allocations, NYSDOL receives a Notice

 of Award from the responsible federal agency. Upon award, funds are made available to NYSDOL

 in the federal Payment Management System (PMS). Funds in the PMS can be drawn down to

 reimburse NYSDOL for the expenses incurred in the operation of the corresponding programs.

          7.     NYSDOL also administers annual allocations and additional allocations that are

 awarded to local governments as well as other private grantees. These allocations are paid out on

 a reimbursement basis (meaning that the grantee receives reimbursement for actual costs that are

 incurred and paid for) or on a draw down basis provided that the draw is for expenses to be incurred

 within five days of the request for funds.



                                                  2
Case 1:25-cv-00039-JJM-PAS          Document 68-94       Filed 02/07/25      Page 4 of 19 PageID
                                          #: 4980



        8.      On NYSDOL’s behalf, the NYS Office of the State Comptroller (NYSOSC)

 requests payments for ongoing, approved allocations that have been awarded to NYSDOL through

 PMS each business day, and payments are generally made on the following business day. Payments

 to NYSDOL through PMS average approximately $2.3 million per day.

 Federal Funding Freeze

        9.      On January 27, 2025, the federal Office of Management and Budget issued a

 memorandum that paused payments of federal financial assistance, including payments to

 NYSDOL. The directive in the memorandum was effective at 5:00pm the following day, with no

 additional advance warning having been provided to affected payees.

        10.     On January 28, 2025, NYSDOL staff attempted to log in to PMS but were unable

 to access the system. NYSDOL received very limited information from the federal administration

 about the payment freeze on that day, and no update about when payments could be expected

 (attached as Exhibit A). PMS remained inaccessible for most of the day and NYSDOL did not

 receive the expected disbursement of $2,529,230 in federal funds that was requested on January

 27, 2025.

        11.     On January 28, 2025, NYSDOL received communications from local workforce

 development areas that were seeking guidance on what steps should be taken as a result of the

 payment pause. Specifically, the local areas were concerned that they would not be able to draw

 on annual allocations that were accounted for in their budgets. Several of the local workforce

 development areas expressed concern that they would not have sufficient funds to cover costs they

 would incur – including salaries for staff – if reimbursements or draw down requests were

 significantly delayed.




                                                3
Case 1:25-cv-00039-JJM-PAS             Document 68-94    Filed 02/07/25     Page 5 of 19 PageID
                                             #: 4981



        12.     In response to the panic and confusion expressed by the local areas, NYSDOL

 scheduled an emergency meeting on January 28, 2025, with the directors of the 33 local workforce

 development boards that oversee the funds within the local areas. During the call, NYSDOL

 relayed the limited information it had received from the federal government and tried to provide

 reassurance during the uncertainty.

        13.     NYSDOL’s access to PMS was briefly restored late in the business day on January

 28, 2025. NYSDOL and NYSOSC were able to resume payment requests through PMS on January

 29, 2025. The payment of federal funds that was expected on January 28, 2025, was received on

 January 29, 2025.

        14.     Nonetheless, the impact on NYSDOL of the sudden failure of the federal

 government to reimburse already committed and expended funds was potentially catastrophic. In

 the short term, NYSDOL may have been able to cover expenditures by supplementing state funds

 using limited reserves the agency has on hand. Grantees, including local governments, expressed

 concerns about their ability to rely on the funding that has been allocated and obligated by

 NYSDOL in accordance with the federal awards.

        15.     As outlined below, annual and additional allocations of funds received by NYSDOL

 provide important services to the residents and workers of NYS.

 Significant Annual Allocations

        16.     NYSDOL administers many joint federal/state programs that are funded through

 annual allocations including, inter alia, the unemployment insurance program (UI), the Workforce

 Innovation and Opportunity Act (WIOA), the Wagner-Peyser Act and the Reemployment Services

 and Eligibility Assessment Grant (RESEA), the Jobs for Veterans State Grant (JVSG), and

 Occupational Safety and Health programs .



                                                4
Case 1:25-cv-00039-JJM-PAS           Document 68-94           Filed 02/07/25   Page 6 of 19 PageID
                                           #: 4982



        17.     The UI program, authorized by the Federal Unemployment Tax Act and Social

 Security Act, provides individuals who become unemployed through no fault of their own with

 supplemental income while they search for new employment. In New York, the program provides

 weekly UI assistance benefits amounting to $3 billion per year. While UI benefits are paid through

 a state-funded trust fund account that is held by the U.S. Treasury, NYSDOL received a $187

 million annual allocation from the U.S. Department of Labor (USDOL) to cover the costs of

 administering the UI program in 2024. Specifically, the funds are used to support the staff that

 necessary to operate a program that conforms with federal law. UI staff ensure that benefits are

 paid out properly, prevent fraud, represent NYSDOL in hearings, and engage in collections

 activities for funds owed to the state trust fund account.

        18.     WIOA Title I funding, authorized by 29 U.S.C. §§ 3161 – 3181, is used by

 NYSDOL to provide services to youth, adults, and dislocated workers through 95 Career Centers

 across the state. NYSDOL received an annual allocation of $236.8 million for 2024, with

 approximately $61 million reserved for allocations to the 33 local workforce development areas

 throughout the state. The funding supports NYSDOL and local-level front-line staff, as well as an

 extensive network of local youth service providers, to provide career development, training, and

 support to businesses – including direct grants to cover costs associated with businesses hiring and

 training unemployed and underemployed individuals within the local areas. The WIOA program

 served over 123,000 adults, 167,000 dislocated workers, and 7,800 youth in New York in 2022.

        19.     NYSDOL administers workforce programming funded by the Wagner-Peyser Act

 and the RESEA grant in 65 Career Centers across the state. NYSDOL received an annual allocation

 of $39 million for Wagener-Peyser and nearly $38 million for RESEA in 2024. NYSDOL staff

 administering these programs provide continuous services to unemployed customers, from



                                                   5
Case 1:25-cv-00039-JJM-PAS           Document 68-94         Filed 02/07/25   Page 7 of 19 PageID
                                           #: 4983



 providing meaningful assistance with customers who need to file for UI benefits, to providing job

 search assistance, career counseling, and referrals to partners.

        20.       The JVSG program is authorized by 38 U.S.C. § 4102SA(b)(5) and funds help

 NYSDOL provide special assistance to veterans and eligible persons. NYSDOL’s annual

 allocation for this program for 2024 is approximately $9 million. Funding is determined by a ratio

 that reflects the total number of veterans seeking employment with the state. JVSG staff are

 assigned to the Career Centers throughout the state where veteran customers receive specialized

 assistance, often from a veteran employed by NYSDOL, to help address the unique barriers and

 challenges that are faced by servicemembers who are returning to the civilian workforce. Services

 include, but are not limited to, a comprehensive assessment, an individual employment plan, and

 customized job search support.

        21.       NYSDOL administers the Public Employee Safety and Health program as a partial

 consent state under the Occupational Health and Safety Act (OSHA; 29 U.S.C. section 651, et

 seq). Under the state plan between NYSDOL and the federal government, NYSDOL enforces

 safety and health standards to ensure safe and healthy working conditions for all public sector

 employees, including police officers and firefighters. In order to effectively enforce OSHA safety

 standards, the federal government provided an annual allocation of $4,140,600 for 2024. OSHA

 requires a 50% match of state funds, which NYS exceeded for 2024 with a $6,647,954

 appropriation.

        22.       NYSDOL also administers an On-Site Consultation Program, which provides free

 and confidential safety and health consultative services to small- and medium-sized businesses

 operating in high-hazard industries or performing high-hazard activities to help businesses avoid




                                                   6
Case 1:25-cv-00039-JJM-PAS           Document 68-94         Filed 02/07/25      Page 8 of 19 PageID
                                           #: 4984



 the staggering costs associated with a workplace injury. USDOL provides 90% of this program’s

 funds, which were $3,666,200 in 2024.

        23.       Additionally, NYSDOL administers the Mine Safety Training Program, which

 provides high quality safety instruction to mine employees in New York. The program is partially

 funded by the Mine Safety and Health Administration (MSHA), which awarded New York

 $347,407 for 2024.

        24.       None of these annual allocations are paid to NYSDOL in lump sums. NYSDOL

 accesses these funds throughout the year using the PMS draw down process.

 Additional Allocations/DEI Executive Order Concerns

        25.       NYSDOL regularly seeks additional allocations by applying for individual grant

 opportunities.

        26.       USDOL awarded NYSDOL specific grant funds that may be in jeopardy following

 the President’s Executive Orders entitled Ending Radical and Wasteful Government DEI Programs

 and Preferencing (issued January 20, 2025) and Ending Illegal Discrimination and Restoring

 Merit-Based Opportunity (issued January 21, 2025). For example, USDOL awarded New York a

 $9.1 million Equitable Access to State Unemployment Insurance Systems grant as part of $260

 million available to states through the American Rescue Plan Act. The grant is to fund projects

 aimed at preventing race, ethnicity, language proficiency, literacy, disability status, socioeconomic

 status, geographic location or other systemic barriers from impeding access to unemployment

 insurance benefits for people in need.

        27.       On January 22, 2025, USDOL issued Training and Employment Notice 21-24

 (attached as Exhibit B) to states indicating more guidance would follow “on specific activities that




                                                  7
Case 1:25-cv-00039-JJM-PAS           Document 68-94         Filed 02/07/25    Page 9 of 19 PageID
                                           #: 4985



 are allowable and unallowable” under USDOL federal grants. No guidance has been

 communicated yet.

        28.     To date, NYSDOL has expended approximately $2.3 million of the $9.1 million

 award. The work NYSDOL is doing is focused on modernizing the UI delivery system to assist

 people with limited English proficiency or those who are visually or hearing impaired. This work

 is particularly important because NYSDOL was subject to a federal judicial consent decree for

 decades based on historical failures to provide non-English speaking claimants sufficient access to

 UI benefits in violation of the federal Social Security Act.

        29.     There is still information about this grant accessible on USDOL’s website but a

 press release (attached as Exhibit C) about awarding funds to NYS include a banner warning

 readers that as of January 20, 2025, this information “may be out of date or not reflect current

 policies.”

 Conclusion

        30.     If a federal payment freeze were to continue for any significant amount of time,

 NYSDOL’s ability to continue providing essential services to employees, employers, job seekers,

 and others would be seriously jeopardized. This includes administering UI benefits to out-of-work

 New Yorkers; providing in-person and virtual services to unemployed and underemployed

 individuals seeking to obtain gainful employment; assisting businesses through training support

 grants, safety and health consultations, and connecting with job seekers. Finally, work performed

 by NYSDOL staff to ensure the integrity of the UI system and the safety of public employees –

 including police officers and firefighters – would have to be substantially decreased.

        31.     NYSDOL provides vital services to connect workers with jobs and resources to

 obtain skills for employment, assist businesses with obtaining and training staff, and ensure that



                                                   8
Case 1:25-cv-00039-JJM-PAS           Document 68-94         Filed 02/07/25      Page 10 of 19 PageID
                                            #: 4986



  workers are protected physically and financially. The loss of access to these services would have

  a substantial impact on the people of NYS.



  I declare under penalty of perjury that the foregoing is true and correct to the best of my

  knowledge.

  Executed this 5th day of February, 2025, in Albany, New York.




                                                                ______________________________
                                                                Scott Melvin
                                                                Executive Deputy Commissioner
                                                                New York State Department of Labor




                                                   9
Case 1:25-cv-00039-JJM-PAS   Document 68-94   Filed 02/07/25   Page 11 of 19 PageID
                                    #: 4987




                    MELVIN
                   EXHIBIT A




                                      10
Case 1:25-cv-00039-JJM-PAS   Document 68-94   Filed 02/07/25   Page 12 of 19 PageID
                                    #: 4988
Case 1:25-cv-00039-JJM-PAS         Document 68-94        Filed 02/07/25    Page 13 of 19 PageID
                                          #: 4989

   PMS website: ( Home | Payment Management Services )

         Effective immediately, PMS is only available during the hours of 9:00 AM to 4:00 PM
         EST Monday through Friday. The limited hours are in effect until a further notice.
         PAYMENT DELAYS: Due to Executive Orders regarding potentially unallowable grant
         payments, PMS is taking additional measures to process payments. Reviews of
         applicable programs and payments will result in delays and/or rejections of
         payments.



   We recommend contacting the PMS helpdesk directly should you have questions regarding
   your specific grant assuming they have any additional information to provide, 1-877-614-5533
   (PMS Help Desk | HHS PSC FMP Payment Management Services).

   Thank you for your patience while we await additional information.

   Enjoy Your Day!
Case 1:25-cv-00039-JJM-PAS   Document 68-94   Filed 02/07/25   Page 14 of 19 PageID
                                    #: 4990




                    MELVIN
                   EXHIBIT B




                                      11
Case 1:25-cv-00039-JJM-PAS   Document 68-94   Filed 02/07/25   Page 15 of 19 PageID
                                    #: 4991
Case 1:25-cv-00039-JJM-PAS          Document 68-94        Filed 02/07/25      Page 16 of 19 PageID
                                           #: 4992



         issued on January 21, 2025. All federal agencies are taking steps to implement these EOs,
         and promptly notifying all federal awardees. ETA, like all federal agencies, will provide
         further guidance on specific programs and activities within those programs.

  4. Ceasing DEIA activities. All awardees must immediately cease all award activities related
     to DEI or DEIA. All other award activities should continue.

     ETA will issue further guidance on specific activities that are allowable and unallowable.

  5. Inquiries. Please direct inquiries to the appropriate Regional Office.

  6. References.
     • Executive Order, “Ending Radical and Wasteful Government DEI Programs and
        Preferencing,” January 20, 2025, available at https://www.whitehouse.gov/presidential-
        actions/2025/01/ending-radical-and-wasteful-government-dei-programs-and-
        preferencing/.
     • Executive Order, “Ending Illegal Discrimination and Restoring Merit-Based
        Opportunity,” January 21, 2025, available at https://www.whitehouse.gov/presidential-
        actions/2025/01/ending-illegal-discrimination-and-restoring-merit-based-opportunity/.

  7. Attachments. N/A




                                                  2
Case 1:25-cv-00039-JJM-PAS   Document 68-94   Filed 02/07/25   Page 17 of 19 PageID
                                    #: 4993




                    MELVIN
                   EXHIBIT C




                                      12
Case 1:25-cv-00039-JJM-PAS   Document 68-94   Filed 02/07/25   Page 18 of 19 PageID
                                    #: 4994
Case 1:25-cv-00039-JJM-PAS   Document 68-94   Filed 02/07/25   Page 19 of 19 PageID
                                    #: 4995
